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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:
                                                          Chapter 7
BRANDON HEITMANN,                                         Case No. 24-41956-MAR
                                                          Hon. Mark A. Randon
                 Debtor.
                                           /
MOHAMED SAAD,

         Plaintiff,

v.                                                        Adv. Pro. No. 24-04375-MAR
                                                          Hon. Mark A. Randon
BRANDON HEITMANN,

         Defendant.

_____________________________________/

                               CERTIFICATE OF SERVICE

       I hereby certify that on April 9, 2025, a Subpoena to Produce Documents, Information, or
Objects or to Permit Inspection of Premises in a Bankruptcy Case (Or Adversary Proceeding)
was served via Certified Mail to the following:

LSIS, LLC dba Skyview Detroit
Taylor Calero, Resident Agent
2943 Sleeth Rd
Commerce Twp, MI 48382
CERTIFIED MAIL NO: 7022-2410-0003-3532-1632


Dated: April 15, 2025                      Respectfully Submitted,
                                           OSIPOV BIGELMAN, P.C.

                                           /s/ Jeffrey H. Bigelman
                                           JEFFREY H. BIGELMAN (P61755)
                                           Attorneys for Plaintiff, Mohamed Saad
                                           20700 Civic Center Drive, Ste. 420
                                           Southfield, MI 48076
                                           Phone: (248) 663-1800 Fax: (248) 663-1801
                                           E-mail: jhb@osbig.com




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